                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION

                                   NO. 4:23-CR-37-M-BM-1


  UNITED STATES OF AMERICA
                                                             WAIVER OF INITIAL APPEARANCE
      v.                                                            ON INDICTMENT

  ISAIAH EMMANUELLE GIBBS


       The Defendant, Isaiah Emmanuelle Gibbs, by and through counsel, waives the right to an

initial appearance on the Indictment filed on July 27, 2023 [DE 18]. Undersigned counsel files

this waiver of an initial appearance with the consent of the Defendant.

       Respectfully submitted this 27th day of July, 2023.

                                                     G. ALAN DuBOIS
                                                     Federal Public Defender

                                                     /s/ James R. Saunders
                                                     JAMES R. SAUNDERS
                                                     Assistant Federal Public Defender
                                                     Attorney for Defendant
                                                     Office of the Federal Public Defender
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                                                     N.C. State Bar No. 26708
                                                     LR 57.1 Counsel Appointed




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                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served upon:

PHILIP L. AUBART
United States Attorney's Office
150 Fayetteville Street, Suite 2100
Raleigh, NC 27601


by electronically filing the foregoing with the Clerk of Court on this date, using the CM/ECF
system which will send notification of such filing to the above.

       This the 27th day of July, 2023.

                                                    /s/ James R. Saunders
                                                    JAMES R. SAUNDERS
                                                    Assistant Federal Public Defender
                                                    Attorney for Defendant
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